          Case 8:23-bk-10571-SC                  Doc 177 Filed 07/06/23 Entered 07/06/23 22:27:31                                        Desc
                                                  Main Document     Page 1 of 7



 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
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      Individual appearing without attorney
      Attorney for: Richard A. Marshack, Chapter 11 Trustee

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                        DIVISION

 In re:                                                                       CASE NO.: 8:23-bk-10571-SC

THE LITIGATION PRACTICE GROUP P.C.,                                           CHAPTER: 11




                                                                                        APPLICATION FOR ORDER SETTING
                                                                                        HEARING ON SHORTENED NOTICE
                                                                                                 [LBR 9075-1(b)]

                                                              Debtor(s).



1. Movant applies under LBR 9075-1(b) for an order setting a hearing on shortened notice on the following motion:

    a. Title of motion: Motion for Order Approving Stipulation re Avoidance and Recovery of Avoidable Transfers to Defe ndant
          Phoenix Law and Turnover Related Property and Order of Dismissal Without Prejudice of Defendants Carss and Tan
    b. Date of filing of motion: 7/6/2023


2. Compliance with LBR 9075-1(b)(2)(A): (The following three sections must be completed):

    a. Briefly specify the relief requested in the motion:
          Richard A. Marshack, the Chapter 11 Trustee (“Trustee”) for the bankruptcy estate of The
          Litigation Practice Group, P.C. moves, pursuant to Section 105 of the Bankruptcy Code and
          Rules 9019 and 2002(a) of the Federal Rules of Bankruptcy Procedure for entry of an order
          approving the stipulation regarding avoidance and recovery of avoidable transfers to defendant
          Phoenix Law, PC and turnover of all related property to the Trustee and order for Dismissal
          without prejudice of defendants William Taylor Carss and Maria Eeya Tan.


            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                       F 9075-1.1.APP.SHORT.NOTICE
         Case 8:23-bk-10571-SC                  Doc 177 Filed 07/06/23 Entered 07/06/23 22:27:31                                        Desc
                                                 Main Document     Page 2 of 7


    b. Identify the parties affected by the relief requested in the motion:
         The parties to the stipulation, potentially the consumer clients, the Estate, and all creditors
         including consumer creditors.




    c.   State the reasons necessitating a hearing on shortened time:
         Shortly, the Trustee will seek Court approval to sell certain assets of the Debtor (the "Sale
         Motion"). However, the Trustee's instant 9019 motion for settlement has to be heard
         beforehand. Specifically, the 9019 motion for settlement asks the Court to approve the
         settlement terms reached by the Trustee, Phoenix, Ms. Tan, and Mr. Carss regarding the
         LPG client files fraudulently transferred by LGP to Phoenix. Upon the Court's approval, if
         granted, the Trustee intends to recover the files, which will then allow them to be sold
         pursuant to the terms of the Asset Purchase Agreement identified in the Sale Motion. Thus,
         Trustee requests a hearing on this motion be held on July 11, 2023, or as soon thereafter as
         is convenient to the Court.


3. Compliance with LBR 9075-1(b)(2)(B): The attached declaration(s) justifies setting a hearing on shortened notice, and
   establishes a prima facie basis for the granting of the motion.


4. Movant has lodged a proposed Order Setting Hearing on Shortened Notice on mandatory form F 9075-1.1.ORDER
   .SHORT.NOTICE



Date: 7/6/2023                                                                   DINSMORE & SHOHL LLP
                                                                                 Printed name of law firm



                                                                                 /s/ Jonathan Serrano
                                                                                 Signature of individual Movant or attorney for Movant

                                                                                 Jonathan Serrano
                                                                                 Printed name of individual Movant or attorney for Movant




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December 2012                                                          Page 2                         F 9075-1.1.APP.SHORT.NOTICE
Case 8:23-bk-10571-SC         Doc 177 Filed 07/06/23 Entered 07/06/23 22:27:31                  Desc
                               Main Document     Page 3 of 7



 1                           DECLARATION OF CHRISTOPHER B. GHIO
 2 I, CHRISTOPHER B. GHIO, declare as follows:

 3          1.      I am special counsel to Richard A. Marshack, the duly appointed Chapter 11 Trustee

 4 (the “Trustee”) for the bankruptcy estate (the “Estate”) of The Litigation Practice Group P.C. (the

 5 “Debtor” or “LPG”). I am a partner of Dinsmore & Shohl LLP and duly admitted to practice before

 6 all of the courts in the State of California, including the United States District Court for the Central

 7 District of California.

 8          2.      I have personal knowledge of the matters set forth herein. If called as a witness in this

 9 matter, I could and would testify competently thereto.

10          3.      I make this declaration in support of the Trustee’s Application for Order Setting

11 Hearing on Shortened Notice [LBR 9075-1(b)] (the “Application”) regarding a hearing on the

12 Chapter 11 Trustee’s Notice of Motion and Motion for Order Approving Stipulation re Avoidance

13 and Recovery of Avoidable Transfers to Defendant Phoenix Law, PC and Turnover of All Related

14 Property to the Trustee and Order of Dismissal Without Prejudice of Defendants William Taylor

15 Carss And Maria Eeya Tan (the “Motion”).

16          4.      For the following reasons, good cause exists for shortening time for a hearing on the

17 Motion.

18          5.      On May 25, 2023, the Trustee filed an adversary proceeding against Phoenix, and Mr.
19 Carss, Ms. Tan.
20          6.      In his complaint, the Trustee asserted that that the Debtor had fraudulently transferred

21 approximately 40,000 client files (the “Files”) to Phoenix Law, PC (“Phoenix”), that the clients never

22 consented to their legal cases being transferred to new counsel, and that these transfers were avoidable

23 and recoverable pursuant to 11 U.S.C. §§ 547, 548 and 550. With respect to Mr. Carss and Ms. Tan,

24 the Trustee asked for the Court to grant his request for injunctive relief against them with respect to

25 the Files transferred to Phoenix and all matters related to those Files.

26          7.      On May 26, 2023, the Trustee obtained an emergency order (the “TRO”) that, among

27 other things, enjoined Phoenix, Mr. Carss, and Ms. Tan from taking certain actions with respect to

28
Case 8:23-bk-10571-SC   Doc 177 Filed 07/06/23 Entered 07/06/23 22:27:31   Desc
                         Main Document     Page 4 of 7
       Case 8:23-bk-10571-SC                    Doc 177 Filed 07/06/23 Entered 07/06/23 22:27:31                                        Desc
                                                 Main Document     Page 5 of 7



                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
  655 W. Broadway, Suite 800, San Diego, CA 92101


A true and correct copy of the foregoing document entitled: APPLICATION FOR ORDER SETTING HEARING ON
SHORTENED NOTICE [LBR 9075-1(b)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
7/6/2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 7/6/2023 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method f
or each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 7/6/2023         , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
Judge's Copy:
Honorable Scott C. Clarkson
United States Bankruptcy Court
Central District of California
411 West Fourth Street Suite 5130/Courtroom C
Santa Ana CA 92701-4593
                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

                                                                                                 /s/ Jonathan Serrano
07/6/2023          Jonathan Serrano
 Date                      Printed Name                                                         Signature




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December 2012                                                          Page 3                         F 9075-1.1.APP.SHORT.NOTICE
                              Case 8:23-bk-10571-SC     Doc 177 Filed 07/06/23 Entered 07/06/23 22:27:31             Desc
                                                         Main Document     Page 6 of 7



                               1                        In re The Litigation Practice Group, P.C.
                                                       U.S.B.C., Central District of California, Santa Ana
                               2                                  Case No. 8:23-bk-105701-SC

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                              Case 8:23-bk-10571-SC    Doc 177 Filed 07/06/23 Entered 07/06/23 22:27:31   Desc
                                                        Main Document     Page 7 of 7



                               1 II.    SERVED VIA REGULAR U.S. MAIL:

                               2        N/A
                               3 III.   SERVED VIA OVERNIGHT MAIL (FED EX):
                               4        United States Bankruptcy Court
                               5        Honorable Scott Clarkson
                                        United States Bankruptcy Court
                               6        Central District of California
                                        411 West Fourth Street, Suite 5130 / Courtroom 5C
                               7        Santa Ana, California 92701
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                              11
Phoenix, Arizona 85004-2555




                              12
  1 East Washington Street
     Ballard Spahr LLP




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         Suite 2300




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